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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION

DAKOTA HOLT,                                 )
                                             )
         Plaintiff,                          )
                                             )       CIVIL ACTION
v.                                           )
                                             )       FILE No. 4:21-cv-00062-WMR
BAPASHREE USA LLC,                           )
                                             )
         Defendant.                          )

                                            ORDER

         On July 8, 2021, Plaintiff filed a Notice of Settlement informing the Court

that the parties have settled this case and that they will file the appropriate

dismissal documents with the Court within sixty (60) days. The Clerk of Court is

directed to ADMINISTRATIVELY CLOSE this case. The parties shall file a

dismissal or other filing disposing of this case upon finalization of the settlement.

If settlement negotiations should fail, the parties shall promptly move to reopen the

case.1




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  Administrative closure is a docket-control device used by the Court for statistical purposes. The
parties need only file a motion to reopen the case if settlement negotiations fail. Administrative
closure will not prejudice the rights of the parties to this litigation in any manner.




                                                 1
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SO ORDERED, this 20th day of July, 2021.



                            _________________________
                            Hon. William M. Ray, II
                            United States District Judge




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